     2:18-cv-01872-RMG          Date Filed 08/14/18      Entry Number 8       Page 1 of 33



                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH CAROLINA



                  CONFERENCE AND SCHEDULING ORDER
                     AND RULE 26(F) REPORT FORM

                                   C/A NO.: 2:18cv1872

                              JUDGE RICHARD MARK GERGEL

                                NOTICE TO COUNSEL

Attached please find a proposed scheduling order for your review and comment. The 2000
Amendments to the Federal Rules of Civil Procedure, and subsequent amendments to the
local rules for this district, now require that, early in the litigation, counsel meet, confer, and
submit certain information to the court. Some of the requested information is needed to
formulate a scheduling order. The judges of this district have determined that the most
feasible way of accomplishing this is for the court to enter a tentative scheduling order with
a request that the parties meet and determine if the dates proposed by the court are
acceptable.

The deadline for meeting and conferring in this case is set out in Paragraph 1 of the
attached scheduling order. A form (RULE 26(F) REPORT) is attached and must be completed
and returned indicating your acceptance of, or suggested changes to, the scheduling order.

A scheduling order “is not a frivolous piece of paper, idly entered, which can be cavalierly
disregarded by counsel without peril.” Forstmann v. Culp, 114 F.R.D. 83, 85 (M.D.N.C.
1987) (quoting Gestetner Corp. v. Case Equipment Co., 108 F.R.D. 138, 141 (D. Me.
1985)). “The use of discovery closure dates and deadlines for disclosure of experts are
important tools for case management.” Serrano-Perey v. F.M.C. Corp., 985 F.2d 625, 628
(1st Cir. 1993).

The Local Civil Rules for the District of South Carolina, as well as the forms referenced in
this order, are available on this District’s website at:

                            www.scd.uscourts.gov




                                                1
      2:18-cv-01872-RMG             Date Filed 08/14/18         Entry Number 8         Page 2 of 33



                          IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION


BMW of North Charleston LLC, et al,                   )    C/A No.: 2:18cv1872
                                                      )
Plaintiffs,                                           )    CONFERENCE AND
                                                      )    SCHEDULING ORDER
v.                                                    )
                                                      )    Judge Richard Mark Gergel
Quality Exteriors Group LLC, et al.                   )
                                                      )
Defendants.                                           )


        Pursuant to the Federal Rules of Civil Procedure and the Local Civil Rules of this
Court, the following schedule is established for this case. This order is entered to
administer the trial of cases in a manner consistent with the ends of justice, in the shortest
possible time, and at the least possible cost to litigants. Discovery may begin upon receipt
of this order.

              1. Rule 26(f) Conference: A conference of the parties pursuant to Fed. R. Civ.
                 P. 26(f) shall be held no later than September 4, 2018.1

              2. Rule 26(a)(1) Initial Disclosures: No later than September 18, 2018, the
                 required initial disclosures under Fed. R. Civ. P. 26(a)(1) shall be made.2

              3. Rule 26(f) Report: No later than September 18, 2018, the parties shall file a
                 Fed. R. Civ. P. 26(f) Report in the form attached to this order.3

              4. Mediation: As part of the Rule 26(f) Report, the parties are to file the form
                 entitled “Mediation of Cases Pending Before Judge Gergel,” which is
                 attached hereto.4

              5. Amendment of Pleadings: Motions to join other parties and amend the

1
  Plaintiff’s counsel shall initiate the scheduling of the Rule 26(f) conference with all counsel known to
plaintiff regardless of whether they have filed appearances. At conference, the parties shall confer
concerning all matters set forth in Rule 26(f) and whether the schedule set forth in this order is appropriate
and, if not, what modifications are necessary. See attached form – RULE 26(f) REPORT. The parties
shall also consider whether they wish to consent to trial before a United States Magistrate Judge (form
available on website).
2
  Pursuant to Fed. R. Civ. P. 26(a)(1), the parties may, by stipulation, agree not to make some or all of the
Rule 26(a)(1) initial disclosures. If such a stipulation is made, it shall be confirmed in writing between the
parties. See Fed. R. Civ. P. 29 and Local Civil Rule 29.01.
3
  Parties are hereby notified that Local Civil Rule 26.03 lists additional queries to be answered in the Rule
26(f) Report. See also Local Civil Rule 26.02 (rules for answering court interrogatories).
4
  The Court will issue a separate Order on mediation.

                                                      2
2:18-cv-01872-RMG       Date Filed 08/14/18     Entry Number 8      Page 3 of 33



       pleadings shall be filed no later than November 13, 2018.

    6. Expert Witnesses: Parties shall file and serve a document identifying by full
       name, address, and telephone number each person whom they expect to call
       as an expert at trial and certifying that a written report prepared and signed
       by the expert including all information required by Fed. R. Civ. P. 26(a)(2)(B)
       has been disclosed to the parties by the following dates:
              Plaintiff:     December 12, 2018
              Defendant: January 11, 2019

    7. Records Custodian Witnesses: Counsel shall file and serve affidavits of
       records custodian witnesses proposed to be presented by affidavit at trial
       no later than January 18, 2019. Objections to such affidavits must be
       made within fourteen (14) days after the service of the disclosure. (See
       Fed. R. Evid. 803(6), 902(11), or 902(12) and Local Civil Rule
       16.02(D)(3)).

    8. Discovery: Discovery shall be completed no later than February 11,
       2019. All discovery requests shall be served in time for the responses
       thereto to be served by this deadline. De bene esse depositions must be
       completed by discovery deadline. No motions relating to discovery shall be
       filed until counsel have consulted and attempted to resolve the matter as
       required by Local Civil Rule 7.02.

    9. Motions in Limine: Motions in limine must be filed no later than fifteen (15)
       days prior to jury selection.

    10. Dispositive Motions and Daubert Motions: All dispositive motions and
        Daubert motions shall be filed on or before February 25, 2019.

    11. Pretrial Disclosures: No later than twenty-one (21) days prior to jury
        selection, the parties shall file and exchange Fed. R. Civ. P. 26(a)(3)
        pretrial disclosures. Within fourteen (14) days thereafter, a party shall file
        and exchange Fed. R. Civ. P. 26(a)(3) objections, any objections to use of
        a deposition designated by another party and any deposition counter-
        designations under Fed. R. Civ. P. 32(a)(4).

    12. Pretrial Briefs: Parties shall furnish the Court and serve pretrial briefs five
        (5) business days prior to the date set for jury selection (Local Civil
        Rule 26.05). Attorneys shall meet at least five (5) business days prior to
        the date set for submission of pretrial briefs for the purpose of exchanging
        and marking all exhibits. See Local Civil Rule 26.07.

    13. Trial: This case is subject to being called for jury selection and/or trial on
        or after June 1, 2019.



                                       3
     2:18-cv-01872-RMG       Date Filed 08/14/18   Entry Number 8    Page 4 of 33



      The parties’ attention is directed to the Special Instructions for Cases Before
Judge Richard Mark Gergel, attached hereto and also available on the District Court's
website at www.scd.uscourts.gov.



August 14, 2018                                      s/ Richard Mark Gergel
Charleston, South Carolina                           United States District Judge

Attachments:

•     Rule 26(f) Report
•     Special Instructions for Cases Before Judge Richard Mark Gergel




                                           4
      2:18-cv-01872-RMG         Date Filed 08/14/18   Entry Number 8         Page 5 of 33



                       IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

BMW of North Charleston LLC, et al, ) C/A No.: 2:18cv1872
                                    )
v.                                  ) RULE 26(F) REPORT
                                    )
Quality Exteriors Group LLC, et al. )
_______________________________________
                                    )


             The parties, having consulted pursuant to Rule 26(f), Fed. R. Civ. P.,
hereby report as follows (check one below):

_______        We agree that the schedule set forth in the Conference and Scheduling Order
               issued August 14, 2018 is appropriate for this case. The parties' proposed
               discovery plan as required by Fed. R. Civ. P. Rule 26(f) and the information
               required by Local Civil Rule 26.03 will be separately filed by the parties.

_______        We agree that the schedule set forth in the Conference and Scheduling Order
               issued August 14, 2018 requires modification as set forth in the attached
               proposed Consent Amended Scheduling Order (use same format as the
               Court’s standard scheduling order attached hereto). The parties' proposed
               discovery plan as required by Fed. R. Civ. P. Rule 26(f) and the information
               required by Local Civil Rule 26.03 will be separately filed by the parties.

_______        We are unable, after consultation, to agree on a schedule for this case.
               Therefore, we request a scheduling conference with the Court. The parties'
               proposed discovery plan as required by 26(f) Fed. R. Civ. P., with
               disagreements noted, and the information required by Local Civil Rule 26.03
               will be separately filed by the parties.

Plaintiff(s)
                                                      Defendant(s)
_____________________________________
Signature of Plaintiff’s Counsel                      _____________________________________
                                                      Signature of Defendant’s Counsel
_____________________________________
Printed Name of Plaintiff’s Counsel and   Party       _____________________________________
Represented                                           Printed Name of Defendant’s Counsel and Party
                                                      Represented
_____________________________________
Signature of Plaintiff’s Counsel                      _____________________________________
                                                      Signature of Defendant’s Counsel
_____________________________________
Printed Name of Plaintiff’s Counsel and   Party       _____________________________________
Represented                                           Printed Name of Defendant’s Counsel and Party
                                                      Represented
Dated: _______________________________
                                                      Dated: _______________________________


                                                  5
     2:18-cv-01872-RMG        Date Filed 08/14/18    Entry Number 8      Page 6 of 33



SPECIAL INSTRUCTIONS FOR CASES BEFORE JUDGE RICHARD MARK GERGEL

CM/ECF
The Case Management / Electronic Case Filing System (CM/ECF) is fully operational in
this District. All filings by attorneys admitted to this bar must be made via CM/ECF.
Please refer to the court’s website for further information on CM/ECF and Judge
Gergel’s filing preferences. Requests for extension of time or protection via fax, mail or
telephone are no longer accepted: All written communications with the court must be
filed electronically in the case. Extensions of time or protection requests must comply
with Local Rule 6.01. Proposed orders shall be sent as a WORDPERFECT or MS-
WORD document directly to chambers at gergel_ecf@scd.uscourts.gov. (Times New
Roman font, 12 pt., double-spaced is preferred).

COURTESY COPIES
Send courtesy copies of motions, related memoranda, and attachments if these
documents together exceed 25 pages.

*   Courtesy copies should be printed after filing in ECF, with the ECF header printed
    on every page.
*   If the collective document (e.g., memorandum plus exhibits) exceeds 50 pages,
    submit it in bound form with cover.
*   Unless otherwise indicated, the courtesy copies should be delivered to chambers
    within three business days of filing or the request for copies.

CORRESPONDENCE BETWEEN COUNSEL
Attorneys frequently copy the court on correspondence between counsel. This is
seldom appropriate. Unless correspondence is directly related to a pending motion,
there is no reason to copy the court. If it relates to a pending motion and is relevant to
issues before the court, the correspondence should be filed as an exhibit. If it merely
relates to an anticipated motion (usually a discovery dispute), it would be more
appropriate simply to hold such correspondence and to attach it as an exhibit if a
motion becomes necessary.

EXTENSION OF DEADLINES
The deadlines in scheduling orders issued by this court are established after review of
the parties’ Fed. R. Civ. P. 26.01 interrogatory responses with careful consideration to
the nature of the case. After the parties consult and submit their Rule 26(f) report, the
parties can request that the court modify the scheduling order or request a scheduling
conference with the Court. For this reason, extensions should seldom be necessary. If,
however, it becomes necessary to seek an extension, you may file a motion addressing
the following:
Date of the current deadline;
C Whether the deadline has been extended before;
C The number of additional days requested, and proposed new deadline;
C Whether the extension would affect other deadlines; and
C If opposing counsel agrees to or opposes the extension; and
C Proposed Orders for Extensions must be emailed to the Judge’s ECF email address
   immediately after the motion is filed.

                                             1
     2:18-cv-01872-RMG        Date Filed 08/14/18     Entry Number 8       Page 7 of 33



Do not wait until the last day before the deadline to request an extension. Do not call
chambers to determine if the extension has been granted. You may, however, call the
Case Manager in the Clerk’s Office or check the docket on the CM/ECF website.
Absent extraordinary circumstances, requests should be made sufficiently in advance to
allow you to receive a response before the deadline passes. See Local Civil Rule 6.01
and 7.02.

FACSIMILE USAGE
Under certain compelling circumstances, counsel may correspond with the court by
facsimile. The following guidelines apply:
C Facsimile should not be used unless a member of chambers staff has requested or
   approved the use of facsimile;
C Facsimile should not be used unless hand delivery is impractical and the court
   needs to have the information more quickly than could be accomplished by regular
   mail;
C Facsimile is not a substitute for filing any document required to be filed;
C Do not send chambers a hard copy of documents sent by facsimile unless
   specifically requested.

MEDIATION
As part of the Rule 26(f) conference, the parties should inquire into (a) whether early
mediation would be useful; and (b) if early mediation is not thought to be useful, when is
the earliest stage in which mediation might be useful? The parties should jointly
complete the attached form, “Mediation of Cases Pending Before Judge Gergel,”
attached hereto, as part of their Rule 26(f) report. The information submitted to the
Court on this form will be used to set the deadline for mediation, which will be in a
following order.

AMENDMENT OF PLEADINGS
This is the earliest deadline for a very important reason: to allow discovery to address
all issues and all potential parties. Late requests to amend are, therefore, strongly
discouraged. This is especially true if the amendment would add a party. Any request to
amend after the scheduling order deadline should include an explanation of why the
amendment could not have been sought earlier. Parties who delay seeking to amend
until late in the litigation, especially as to known potential parties, risk denial of their
motions.

FILING OF CONFIDENTIAL MATERIAL
The parties’ attention is specifically directed to Local Civil Rule 5.03 regarding the filing
of confidential material.

WEB SITE
The District of South Carolina maintains a website with various forms and resources at:
www.scd.uscourts.gov.

ATTENDANCE
All attorneys and unrepresented parties with cases listed on the bar meeting roster are
required to attend the bar meeting or to send an attorney knowledgeable about the
case.
                                              2
     2:18-cv-01872-RMG        Date Filed 08/14/18    Entry Number 8      Page 8 of 33




PENDING MOTIONS
Counsel or unrepresented parties should be prepared to argue any pending motions at
the bar meeting that have not already been scheduled for a hearing.

REQUESTS FOR PROTECTION
Counsel must file a request for protection which is in compliance with Local Civil Rule
6.02 and includes any compelling scheduling conflicts during the time for which
protection is requested and/or that will be affected by the time protection is requested.
Proposed orders for the same must be emailed to the Judge’s ECF email address. The
court will attempt to provide protection for requests that are timely received.

TRIAL DATES
When possible, parties will be informed of the tentative date for jury trials on the day of
jury selection. Nonjury cases will be interspersed among the jury trials depending on
available trial time and the estimated length of the proceedings. Cases may not be
called in docket order. Unless a specific trial date is assigned, parties and witnesses
should be on stand-by for appearance on short notice.

MAGISTRATE JUDGES
United States magistrate judges of the district court may conduct any or all proceedings
in a civil case, including jury or non-jury trials, upon consent of all parties and with the
approval of the district judge. 28 U.S.C. § 636(c). Magistrate judges are normally able to
provide a date certain for trial. For any parties who wish to consent to a trial before a
magistrate judge, the NOTICE OF AVAILABILITY OF A U.S. MAGISTRATE JUDGE TO
EXERCISE JURISDICTION FORM is attached to this notice. To avoid scheduling
problems, this form should be submitted on or before the date set for the bar meeting.
A magistrate judge cannot be assigned until the signed form is filed with the Clerk’s
Office.

SETTLEMENTS
If any cases are settled, notify the Case Manager at the Clerk of Court’s office.
Normally, the court will enter a conditional order of dismissal (“Rubin Order”) which
allows the parties an additional sixty days to effect the agreed-to settlement. If the
conditional order of dismissal is not acceptable to the parties, counsel shall be
responsible for prompt submission of dismissal papers (within two weeks, absent
express extension).

PRETRIAL CONFERENCES
The court will conduct pretrial conferences in all cases to be tried. The dates of the
pretrial conferences will be announced at the bar meeting. Pretrial conferences in cases
to be tried by a magistrate judge will be scheduled by that magistrate judge.

PRETRIAL DISCLOSURES AND PRETRIAL BRIEFS
All attorneys and unrepresented parties are reminded of their obligations under the
Federal Rules of Civil Procedure and Local Civil Rules of this district, including their
obligations under Fed. R. Civ. P. 26(a)(3). Counsel shall ensure that all counsel and
support staff involved in the pretrial or trial process have reviewed these materials. The
deadline for filing and serving pretrial disclosures is by 5:00 p.m. exactly twenty-one
                                             3
     2:18-cv-01872-RMG        Date Filed 08/14/18     Entry Number 8      Page 9 of 33



(21) business days prior to jury selection. The deadline for submitting to Chambers and
serving pretrial briefs is by 5:00 p.m. exactly five (5) business days prior to jury
selection. Submissions with the pretrial brief include: special voir dire, special jury
instruction requests, a proposed verdict form, exhibit list, witness list, and certificate of
compliance with Local Rule 26.07 (meet, mark, and exchange exhibits).
Counsel shall review the Conference and Scheduling Order issued in their
respective cases. All deadlines set therein shall be strictly adhered to. See also
attached PRETRIAL CHECKLIST.
Please be reminded that voir dire and request to charge requests must be filed in
addition to submitting them to Chambers.

MEET, MARK & EXCHANGE EXHIBITS
The date to meet, mark, and exchange exhibits is exactly five (5) business days prior to
the date set to file and serve pretrial briefs. Proper organization of this meeting should
result in substantially fewer evidentiary disputes which must be resolved at trial.
Attached is a CERTIFICATE OF COMPLIANCE WITH LOCAL CIVIL RULE 26.07
FORM to be completed by counsel. This Certificate should be submitted with the
pretrial brief. The parties shall not renumber their exhibits after the exhibit list is
prepared and this meeting has occurred. If items are deleted, they should simply be
struck through or marked “WITHDRAWN.” The final exhibit list required by the pretrial
brief should reflect only disputes as to the exhibits which were not resolved prior to the
submission of the pretrial brief. See Local Civil Rule 26.07(c).

DEPOSITION DESIGNATIONS
Please use the attached DEPOSITION DESIGNATION FORM in preparing and
exchanging deposition designations and objections. The form may be completed by
hand, so long as it is legible. The final form shall be provided to the court 1 full day
before the start of trial. Please follow the instructions set forth below.
• Any parties intending to introduce deposition testimony at trial (other than for
    impeachment during the examination of a witness) shall designate the pages and
    lines of the testimony to be introduced using the first column of the attached
    DEPOSITION DESIGNATION FORM.
• The opposing party shall note any objections or counter designations in the second
    and third columns and return the form to the original designating party. The basis of
    any objections shall be expressly stated (e.g., hearsay, relevancy, or by Federal
    Rule of Evidence number, etc.).
• The original designating party shall then complete the fourth column, indicating any
    objection to any counter designations or any objections which are conceded.
• To the extent possible, the parties should resolve any objections during the meeting
    set to meet, mark, and exchange exhibits.
• A final DEPOSITION DESIGNATION FORM reflecting all sections to be read and
    all unresolved objections shall be provided to the court 1 full day before the start
    of the trial.
Note: This form is used by the court to follow the testimony as it is being read and to
address objections as they arise. It is, therefore, helpful for the final form to be fully in
the order that it will be read (including counter-designations). This form is also filed to
reflect what portions of the deposition were read into evidence. The court reporters
normally take down only the discussion of objections and not the portion of the
deposition that is read.
                                              4
    2:18-cv-01872-RMG        Date Filed 08/14/18     Entry Number 8      Page 10 of 33



Note: Failure to comply with the relevant deadlines may be treated by the court as
waiver of the right to offer deposition testimony or the right to object to any portions
properly designated.

JURY LISTS, QUESTIONNAIRES, AND VOIR DIRE
• JURY LIST. A copy of the jury list will be available from the Clerk of Court seven (7)
    days before the date the jury is scheduled to appear.
• JUROR QUESTIONNAIRES. Pursuant to Local Civil Rule 47.02, this district
    requires jurors to complete an extensive juror questionnaire. A sample JUROR
    QUESTIONNAIRE is attached hereto and is available on the district’s web site
    (www.scd.uscourts.gov). The juror questionnaire is intended to: (1) provide more
    thorough information to counsel than would otherwise be available and; (2) minimize
    the time necessary to conduct voir dire.
    The completed juror questionnaires are available for purchase at Broad Street
    Printing, 123 Trolley Alley, Summerville, South Carolina 29485 (phone 843-871-
    8495; facsimile 843-873-0483), beginning 7 days prior to jury selection. Copies will
    also be available for review in the Clerk of Court’s office during the same period. To
    protect the privacy of jurors, prior approval must be obtained on a JURY
    QUESTIONNAIRE REQUEST FORM (attached) to secure the questionnaires. See
    Local Civil Rule 47.02.
• ADDITIONAL STANDARD QUERIES. In addition to these written questionnaires,
    the court will ask potential jurors during jury selection if they know or have any
    connection with any of the attorneys, parties, or witnesses listed by either party in
    their pretrial briefs. The court will also summarize the allegations and ask if any juror
    is familiar with the dispute or has preconceived views which may impair their ability
    to be impartial.
• SPECIAL VOIR DIRE. Requests for special voir dire shall be submitted with the
    pretrial brief. If you intend to seek special voir dire, you must certify that the
    questions you seek are not duplicative of those asked in the juror questionnaires or
    the additional standard queries discussed above. See Local Civil Rule 47.04
    (prohibiting requests for voir dire repetitive of questionnaires). Your certification may
    be attached to your proposed voir dire and should be substantially in the following
    form:
I have examined the court's standard juror questionnaires and believe the attached
proposed voir dire does not duplicate these questionnaires or the court’s standard
inquiries as set forth in Judge Gergel’s SPECIAL INSTRUCTIONS. I believe the
following questions are reasonably necessary for selection of an impartial jury.
Special voir dire requests should be written in such a manner that they call for response
only from persons whose bias might justify exclusion or provide a rational basis for a
peremptory strike (e.g., NOT “has any juror ever shopped at ABC store?”; BUT “has
any juror/family member/close friend had an experience shopping at ABC store which
might make them favor one side or the other in this case?”)

JURY INSTRUCTION REQUESTS
• The court's preliminary and boilerplate jury instructions are attached hereto. It is not
  necessary for counsel to submit proposed instructions as to the matters contained in
  the attached instructions. Nonetheless, if you in good faith believe that these
  standard instructions could be improved or need to be tailored for the trial in your
  case, you may propose alternative instructions.
                                              5
     2:18-cv-01872-RMG        Date Filed 08/14/18     Entry Number 8      Page 11 of 33



•   Proposed instructions shall be submitted with the pretrial brief and should be
    submitted in the following format: Each instruction must identify the submitting
    party and be numbered. Only one idea or concept should be expressed on each
    numbered page. The procedure of settling the jury charge during the charge
    conference is greatly simplified if all counsel and the court work from the same stack
    of numbered instruction proposals, with each proposal being contained on a
    separate sheet. Do not submit requests with blanks for insertion of numbers.
•   Each requested instruction should contain a citation of authority. In accordance with
    the Local Civil Rules of this district, if out-of-state or unreported decisions are relied
    upon for support, copies of these decisions must be attached to the jury charge
    request. Do not, however, attach copies of any cases reported in Federal Reporter,
    Federal Supplement or South Eastern Reporter.
•   Frequently, attorneys submit numerous variations of the same legal principle. While
    in some cases it may be appropriate and desirable to restate a doctrine of law using
    slightly different language to be sure the jury understands it, it is generally not
    helpful (and may be confusing) to repeat the same idea to the jury five or six times
    in different ways. Therefore, do not submit repetitive requests for the same legal
    concept. If you submit good faith jury instruction requests, tailored to the case,
    without undue repetition, the court will give conscientious consideration to your
    request.
•   Principal trial attorneys sometimes delegate the task of jury instruction preparation
    to law clerks, new associates, or other attorneys who are not actively involved in the
    case. This sometimes results in a flood of jury instruction requests, some of which
    have no direct relationship to the issues. In some cases, after the court has
    laboriously tried to determine how the requested charge fits into the case, counsel
    will concede that the request was submitted in error. Trial counsel should review all
    pretrial submissions to insure no irrelevant or unnecessary jury instructions or other
    requests (e.g., voir dire) are included.
•   Some attorneys incorrectly assume that the only way to charge a jury is to quote
    directly from reported appellate decisions. Appellate judges do not write opinions
    with jury instructions in mind. Sometimes quotes from appellate opinions need to be
    reworded to make them more understandable to a jury. Restatements, hornbooks,
    treatises and similar sources may also be used. Don't hesitate to quote and cite
    authorities such as these in your jury charge requests.
•   These instructions should not be construed as any attempt by the court to
    discourage counsel from submitting jury charge requests. Frequently, these
    submissions are helpful to the court and, in many cases, are adopted and
    incorporated into the final charge. By submitting separate legal principles on
    separately numbered pages, without undue repetition, attorneys can be of great
    assistance to the court in attempting to fashion a thorough and understandable jury
    charge.

STRIKING THE JURY
If you intend to move to strike any juror for cause based on responses to the juror
questionnaires, you must submit a list of the intended strikes to the court no later than
8 a.m. two (2) business days before the date set for jury selection. Attached is a
REQUEST TO STRIKE JURORS FOR CAUSE FORM which you may use for this
purpose. This form may be completed by hand, but must contain all requested
information. To speed the jury selection process, the court generally first selects a
                                              6
    2:18-cv-01872-RMG        Date Filed 08/14/18   Entry Number 8      Page 12 of 33



panel for each case from the full venire. The court will then determine whether any
jurors on the panel are listed on any properly submitted strike-for-cause list and, if so,
whether the grounds are adequate to strike the juror for cause. The court will voir dire
the remaining panel as to any case specific matters including the standard inquiries as
to witnesses, parties and counsel, as well as any properly submitted and approved
special voir dire. If this process reduces the number below that is necessary to allow for
a full jury after peremptory strikes, additional names will be added to the panel at that
time. In order for this process to work effectively, all requests to strike jurors for
cause and all special voir dire requests must be timely submitted.


ATTACHMENTS:
Pretrial Checklist
Certificate of Compliance with Local Civil Rule 26.07 Form
Request to Strike Jurors for Cause Form
Deposition Designation Form
Jury Instructions (preliminary and boilerplate)
Consent to Trial before U.S. Magistrate Judge Form
Jury List / Questionnaire Request Form
Sample Juror Questionnaire
Mediation of Cases Pending Before Judge Gergel




                                            7
      2:18-cv-01872-RMG          Date Filed 08/14/18   Entry Number 8     Page 13 of 33

 PRETRIAL CHECKLIST
 JUDGE RICHARD MARK GERGEL
 The court is providing the checklist below to assist you in complying with the pretrial
 requirements of the federal rules, the local rules, and specific instruction required by
 this court. Please note that a number of the special requirements referenced in the
 third column are procedures specific to Judge Gergel’s court. The court intends to
 strictly enforce compliance with these requirements by refusing to accept late or
 improper submissions or, when that is not feasible, by imposing a fine.
Item                     Local Civil Rule    Special Instructions   Time Frame
Consent to Trial by      73.02(B)            Form attached          any time prior to trial
Magistrate Judge
Mediation of Cases                           Form attached          submit with Rule 26(f)
Pending                                                             report
Requests for             6.02                                       3 days before bar meeting
Protection
Pretrial Disclosures –   26.00                                      21 business days prior to
FRCP 26(a)(3)                                                       jury selection
Pretrial Briefs                                                     5 business days prior to
                                                                    jury selection
Meet, Mark, and          26.07                                      5 business days prior to
Exchange Exhibits                                                   date for submission of
                                                                    Pretrial Brief
MM&E Certificate of                          Form attached          submit with pretrial brief
Compliance
Jury List                47.03                                      available 7 days before
                                                                    jury selection
Juror Questionnaires     47.03                                      available 7 days before
                                                                    jury selection
Jury Questionnaire                           Form attached          submit to jury clerk before
Request Form                                                        purchase
Request to Strike        47.01-.04           Form attached          8 a.m. 2 days before jury
Jurors for Cause                                                    selection
Special Voir Dire        26.05(o); 47.04                            Submit with pretrial brief
                                                                    and File
Special Jury             26.05(o)            Standard attached      Submit with pretrial brief
Instructions
Exhibit List             26.05(n)                                   Submit with pretrial brief
Witness List             26.05(g)                                   Submit with pretrial brief
Proposed Verdict                                                    Submit with pretrial brief
Form
Pretrial Conference                                                 1 or 2 days before jury
                                                                    selection
Deposition               FRCP                Form attached          1 day before start of trial
Designations;            26(a)(3)                                   (submit in final, completed
Counter-designations;                                               form)
and Objections
Exhibit and Witness                                                 1 day before start of trial
Objections




                                                8
    2:18-cv-01872-RMG          Date Filed 08/14/18     Entry Number 8     Page 14 of 33



CERTIFICATE OF COMPLIANCE WITH LOCAL CIVIL RULE 26.07

STATE OF SOUTH CAROLINA                         )   CERTIFICATE OF COMPLIANCE
                                                )   with Local Civil Rule 26.07
County of __________________                    )   (MEET, MARK, & EXCHANGE EXHIBITS)

TO: Judge Richard Mark Gergel

We are counsel of record in the case of ____________________________________
v. _____________________________________, C/A No.:_____________________.
We hereby certify that, in compliance with Local Civil Rule 26.07 D.S.C. and the court’s
directives, a meeting was held on __________________, 20__, at
___________________________ (Description of office where meeting was held), at
which the plaintiff(s) delivered to defendant(s) pre-marked copies of exhibit numbers
__________ through __________; and defendant(s) delivered to plaintiff(s) pre-marked
copies of exhibit numbers __________ through __________. We certify that these are
all of the exhibits we intend to use in our respective cases at trial, except as specifically
exempted from Local Civil Rule 26.07.1

                                            _____________________________________
                                            Name and signature of Plaintiff’s counsel


                                            _____________________________________
                                            Name and signature of Defendant’s counsel

                                                          ________________________, SC
                                                          _____________________, 20___




       1
           Documents to be used solely for impeachment are exempt from Local Civil Rule 26.07.
                                                9
    2:18-cv-01872-RMG     Date Filed 08/14/18          Entry Number 8      Page 15 of 33



                             United States District Court
                              District of South Carolina
                         The Honorable Richard Mark Gergel


                                  Strikes for Cause
                        (Based on Responses from Court Questionnaires)

Case Name                                    Case Number

 Juror        Juror             Question # at                Concern           Parties     Striking
   #          Name                 Issue               (if not self-evident)   Agree       Juror is
                                                                                           Opposed
                                                                                              By
                                                                                Y/N          P/D

                                                                                Y/N          P/D

                                                                                Y/N          P/D

                                                                                Y/N          P/D

                                                                                Y/N          P/D

                                                                                Y/N          P/D

                                                                                Y/N          P/D

                                                                                Y/N          P/D

                                                                                Y/N          P/D

                                                                                Y/N          P/D

                                                                                Y/N          P/D

                                                                                Y/N          P/D

                                                                                Y/N          P/D

                                                                                Y/N          P/D

                                                                                Y/N          P/D

                                                                                Y/N          P/D

                                                                                Y/N          P/D


                  Attorneys must confer and use this form to
                submit a joint list of potential strikes for cause.
            PLEASE E-MAIL THIS FORM TO: gergel_ecf@scd.uscourts.gov


                                             10
          2:18-cv-01872-RMG      Date Filed 08/14/18          Entry Number 8        Page 16 of 33



                                DEPOSITION DESIGNATION FORM

DEPONENT NAME: ______________________________________________
DATE OF DEPOSITION: ___________________________________________
OFFERING PARTY: ______________________________________________


_____________         ____________________          ______________        ___________________
[party]               [party]                       [party]               [party]
DESIGNATION           OBJECTION                     COUNTER               OBJECTION
                      EXPLAIN BASIS OF              DESIGNATION           (TO COUNTER
                                                                          DESIGNATION)
                                                                          OR INDICATE
                                                                          WITHDRAWAL
                                                                          OF DESIGNATION




page ____                                           page ____
lines ____ - ____                                   lines ____ - ____

page ____                                           page ____
lines ____ - ____                                   lines ____ - ____

page ____                                           page ____
lines ____ - ____                                   lines ____ - ____

page ____                                           page ____
lines ____ - ____                                   lines ____ - ____

page ____                                           page ____
lines ____ - ____                                   lines ____ - ____

page ____                                           page ____
lines ____ - ____                                   lines ____ - ____

page ____                                           page ____
lines ____ - ____                                   lines ____ - ____

page ____                                           page ____
lines ____ - ____                                   lines ____ - ____

page ____                                           page ____
lines ____ - ____                                   lines ____ - ____




                                               11
    2:18-cv-01872-RMG         Date Filed 08/14/18    Entry Number 8       Page 17 of 33



             JURY INSTRUCTIONS - PRELIMINARY AND BOILERPLATE
                        JUDGE RICHARD MARK GERGEL
                    IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH CAROLINA
                                            DIVISION


                                   )               C/A No.: ______________________
                                   )
v.                                 )
                                   )
                                   )
___________________________________)

                         COURT'S INSTRUCTIONS TO THE JURY
                        Duties of Jury to Find Facts & Follow Law
        Members of the jury, now that you have heard all the evidence and the
arguments of the lawyers, it is my duty to instruct you on the law which applies to this
case. These instructions will be in three parts: first, the instructions on general rules that
define and control the jury's duties; second, the instructions that state the rules of law
you must apply, i.e., what the plaintiff must prove to make the case; and third, some
rules for your deliberations. It is your duty to find the facts from all the evidence in the
case. To those facts you must apply the law as I give it to you. You are bound to accept
the rules of law as I give them to you whether you agree with them or not. And you must
not be influenced by any personal likes or dislikes, opinions, prejudices or sympathy.
That means that you must decide the case solely on the evidence before you and
according to the law. You will recall that you took an oath promising to do so at the
beginning of the case.
In following my instructions, you must follow all of them and not single out some and
ignore others; they are all equally important. And you must not read into these
instructions or into anything I may have said or done any suggestion as to what verdict
you should return -that is a matter entirely for you to decide.
                                       Burden of Proof
At the beginning of the case, I told you that the plaintiff has the burden of proving the
case by a preponderance of the evidence. That means that the plaintiff has to produce
evidence which, considered in the light of all the facts, leads you to believe that what
the plaintiff claims is more likely true than not. To put it differently, if you were to put
plaintiff's and defendant's evidence on opposite sides of the scales, the plaintiff would
have to make the scales tip slightly on that side. If the plaintiff fails to meet this burden,
the verdict must be for the defendant. Those of you who have sat on criminal cases will
have heard of proof beyond a reasonable doubt. That is a stricter standard, i.e., it
requires more proof than a preponderance of evidence. The reasonable doubt standard
does not apply to a civil case and you should therefore put it out of your mind.
                                           Evidence
The evidence from which you are to decide what the facts are consists of:
(1) the sworn testimony of witnesses, both on direct and cross-examination,
      regardless of who called the witness;
(2) the exhibits which have been received into evidence; and
(3) any facts to which all the lawyers have agreed to stipulate.
                                              12
    2:18-cv-01872-RMG        Date Filed 08/14/18     Entry Number 8      Page 18 of 33


                                    What Is Not Evidence
In reaching your verdict, you may consider only the testimony and exhibits received into
evidence. Certain things are not evidence and you may not consider them in deciding
what the facts are. I will list them for you:
1) Arguments and statements by lawyers are not evidence. The lawyers are not
    witnesses. What they have said in their opening statements, closing arguments and
    at other times is intended to help you interpret the evidence, but it is not evidence. If
    the facts as you remember them differ from the way the lawyers have stated them,
    your memory of them controls.
2) Questions and objections by lawyers are not evidence. Attorneys have a duty to
    their clients to object when they believe a question is improper under the rules of
    evidence. You should not be influenced by the objection or by the court's ruling on it.
3) Testimony that has been excluded or stricken, or that you have been instructed to
    disregard, is not evidence and must not be considered. In addition, if testimony or
    exhibits have been received only for a limited purpose, you must follow the limiting
    instructions I have given.
4) Anything you may have seen or heard when the court was not in session is not
    evidence. You are to decide the case solely on the evidence received at the trial.
                             Direct and Circumstantial Evidence
There are two kinds of evidence: direct and circumstantial. Direct evidence is direct
proof of a fact, such as testimony of an eyewitness. Circumstantial evidence is indirect
evidence, that is, proof of a chain of facts from which you could find that another fact
exists, even though it has not been proved directly. You are entitled to consider both
kinds of evidence. The law permits you to give equal weight to both, but it is for you to
decide how much weight to give to any evidence. It is for you to decide whether a fact
has been proved by circumstantial evidence. In making that decision, you must
consider all the evidence in the light of reason, common sense, and experience.
                                   Credibility of Witnesses
In deciding what the facts are, you must consider all the evidence. In doing this, you
must decide which testimony to believe and which testimony not to believe. You may
disbelieve all or any part of any witness's testimony. In making that decision, you may
take into account a number of factors including the following:
1) Was the witness able to see, or hear, or know the things about which that witness
    testified?
2) How well was the witness able to recall and describe those things?
3) What was the witness's manner while testifying?
4) Did the witness have an interest in the outcome of this case or any bias or prejudice
    concerning any party or any matter involved in the case?
5) How reasonable was the witness's testimony considered in light of all the evidence
    in the case?
6) Was the witness's testimony contradicted by what that witness has said or done at
    another time, or by the testimony of other witnesses, or by other evidence?
    In deciding whether or not to believe a witness, keep in mind that people sometimes
    forget things. You need to consider therefore whether a contradiction is an innocent
    lapse of memory or an intentional falsehood, and that may depend on whether it has
    to do with an important fact or with only a small detail.
    These are some of the factors you may consider in deciding whether to believe
    testimony.
    The weight of the evidence presented by each side does not necessarily depend on
    the number of witnesses testifying on one side or the other. You must consider all

                                             13
    2:18-cv-01872-RMG         Date Filed 08/14/18     Entry Number 8      Page 19 of 33


    the evidence in the case, and you may decide that the testimony of a smaller
    number of witnesses on one side has greater weight than that of a larger number on
    the other.
    All of these are matters for you to consider in finding the facts.
                     Summaries Not Received In Evidence [if needed]
Certain charts and summaries have been shown to you in order to help explain the
facts disclosed by the books, records, and other documents which are in evidence in
the case. Such charts or summaries are used for convenience. They are not
themselves evidence or proof of any facts. If they do not correctly reflect the facts or
figures shown by the evidence in the case, you should disregard these charts and
summaries and determine the facts from the underlying evidence.
                 Charts and Summaries Received In Evidence [if needed]
Certain charts and summaries have been received into evidence to illustrate facts
brought out in the testimony of some witnesses. Charts and summaries are only as
good as the underlying evidence that supports them. You should therefore give them
only such weight you think the underlying evidence deserves.
                               Use of Depositions [if needed]
During the trial of this case, certain testimony has been read to you by way of
deposition or shown to you by way of videotape. The deposition or videotape testimony
of a witness who, for some reason, cannot be present to testify from the witness stand
is usually presented in writing under oath in the form of a deposition or videotape. Such
testimony is entitled to the same consideration, and, insofar as possible, is to be judged
as to credibility and weighed by you in the same manner as if the witness had been
present.
                        Opinion Evidence, Expert Witness [if needed]
You have heard testimony from persons described as experts. Persons who, by
education and experience, have become expert in some field may state their opinion on
matters in that field and may also state their reasons for the opinion. Expert opinion
testimony should be judged just as any other testimony. You may accept it or reject it,
and give it as much weight as you think it deserves, considering the witness's education
and experience, the reasons given for the opinion, and all the other evidence in the
case.
                   Separate Consideration of Each Defendant [if needed]
Although there is more than one defendant in this action, it does not follow that if one is
liable, all are liable. Each defendant is entitled to a fair consideration of that defendant's
own defense, and is not to be prejudiced by the fact, if it should become a fact, that you
find against another. Unless otherwise stated, all instructions given apply to the case
against each defendant.
                    Joint Consideration of Both Defendants [if needed]
In this case, the two defendants are related corporations. Their positions in this lawsuit
are identical. This means that they are both either liable or not liable. In other words,
even though there are actually two defendants in the case, you should consider them
as one unit in your deliberations.
                                  Corporations [if needed]
The fact that a plaintiff or defendant is a corporation should not affect your decision. All
persons are equal before the law, and corporations, whether large or small, are entitled
to the same fair and conscientious consideration by you as any other person.
                            Liability of Corporations [if needed]
A corporation under the law is a person, but it can only act through its employees,
agents, directors, or officers. The law therefore holds a corporation responsible for the

                                              14
    2:18-cv-01872-RMG         Date Filed 08/14/18    Entry Number 8       Page 20 of 33


acts of its employees, agent, directors, and officers, if but only if those acts are
authorized. An act is authorized if it is a part of the ordinary course of employment of
the person doing it. Whether a particular act was authorized is a question you must
decide on the evidence.
The fact that a plaintiff or defendant is a corporation should not affect your decision. All
persons are equal before the law, and corporations, whether large or small, are entitled
to the same fair and conscientious consideration by you as any other person.
                                     Transition to Liability
The plaintiff's claim in this case is based upon ___________________ alternative or
concurrent theories. I will first identify these theories for you and then we'll go back and
discuss each one with you in detail. The ___________________________ theories are:
1.
2.
3.
4.
The plaintiff is not required to prove all of these theories in order for it to recover. Proof
of its claim under any one of these theories would enable you to find that it is entitled to
a verdict in its favor.
                                         General Denial
The defendant has offered several defenses. The first is what is known as the defense
of general denial. By this, the defendant simply says that it denies the material
allegations of the complaint. The defendant denies that it [made or breached any
warranties]* to the plaintiff, and contends that [even if warranties were made, the
plaintiff did not rely on these representations.] The general denial places the burden of
proof upon the plaintiff to come forward with evidence to prove these material
allegations.
* Alternative Form:
[was negligent and further denies that its negligence, if any, was the proximate cause of
the plaintiff's injuries.]
                     Affirmative Defenses - Burden of Proof [if needed]
In addition to denying all of the material allegations of plaintiff's complaint, the
defendant has asserted two affirmative defenses. These are the defenses of
contributory negligence and assumption of the risk. Just as the plaintiff has the burden
of proving his case by a preponderance of the evidence, the defendant has the burden
of proving that one or both of these affirmative defenses apply to it by a preponderance
of the evidence. In other words, the burden of proof with regard to these two affirmative
defenses rests with the defendant. Contributory negligence, if established, provides a
complete defense to the negligence claim. Assumption of the risk, if established,
provides a complete defense to both the negligence claim and the implied warranty
claim.
                                    Transition to Damages
If you should find in accordance with these instructions that the plaintiff has failed to
establish the essential elements of any of his causes of action by a preponderance of
the evidence then your verdict should be for the defendant. If, on the other hand you
find that the plaintiff has established the essential elements of one or more of his
causes of action by a preponderance of the evidence your verdict should be for the
plaintiff and you should next consider the question of damages.
                             Damages - Cautionary Instruction
The fact that I have instructed you on the proper measure of damages should not be
considered as an indication of any view of mine as to which party is entitled to your

                                              15
     2:18-cv-01872-RMG        Date Filed 08/14/18     Entry Number 8      Page 21 of 33


verdict in this case. Instructions as to the measure of damages are given only for your
guidance, in the event that you should find in favor of Plaintiff on the question of liability,
by a preponderance of evidence and in accord with the other instructions.
                                     Duty to Deliberate
When you retire to the jury room, you should first elect one from among you to serve as
your foreperson. The foreperson you select will preside over the deliberations and
speak for the jury here in court. When you retire to the jury room, you should discuss
the case with your fellow jurors to reach agreement if you can do so. Your verdict must
be unanimous. Each of you must decide the case for yourself, but you should do so
only after you have considered all the evidence, discussed it fully with the other jurors,
and listened to the views of your fellow jurors. Do not be afraid to change your opinion if
the discussion persuades you that you should. But do not come to a decision simply
because other jurors think it is right. It is important that you attempt to reach a
unanimous verdict but, of course, only if each of you can do so after having made your
own conscientious decision. Do not change an honest belief about the weight and effect
of the evidence simply to reach a verdict. Remember at all times that you are not
partisans. You are judges - judges of the facts. Your sole interest is to seek the truth
from the evidence in the case.
                                 Consideration of Evidence
Your verdict must be based solely on the evidence and on the law as I have given it to
you in these instructions. However, nothing that I have said or done is intended to
suggest what your verdict should be - that is entirely for you to decide. The arguments
and statements of the attorneys are not evidence. If you remember the facts differently
from the way the attorneys have stated them, you should base your decision on what
you remember.
                                      Return of Verdict
After you have reached unanimous agreement on a verdict, your foreperson will fill in
the form that has been given to you, sign and date it, and advise the marshal (or bailiff)
outside your door that you are ready to return to the courtroom.
                              Communicating With the Court
If it becomes necessary during your deliberations to communicate with me, you may
send a note through the marshal (or bailiff), signed by your foreperson or by one or
more members of the jury. No member of the jury should ever attempt to communicate
with me except by a signed writing; and I will communicate with any member of the jury
on anything concerning the case only in writing, or orally here in open court. Remember
that you are not to tell anyone - including me - how the jury stands, numerically or
otherwise, until after you have reached a unanimous verdict or have been discharged.




                                              16
                 2:18-cv-01872-RMG                    Date Filed 08/14/18                   Entry Number 8        Page 22 of 33

AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                       __________ District of __________

                                                                               )
                                Plaintiff                                      )
                                    v.                                         )      Civil Action No.
                                                                               )
                               Defendant                                       )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

    Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.


    You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


   Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


              Parties’ printed names                                   Signatures of parties or attorneys                       Dates




                                                                    Reference Order

    IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and order
the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                   District Judge’s signature



                                                                                                    Printed name and title

Note:           Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United
States          magistrate judge. Do not return this form to a judge.

                                                                              17
    2:18-cv-01872-RMG       Date Filed 08/14/18     Entry Number 8      Page 23 of 33


                     IN THE UNITED STATES DISTRICT COURT


                     JUROR QUESTIONNAIRE/LIST REQUEST FORM

Judge: ____________________ Jury Selection Date:______________________
Case Name:_______________________________________________________
Name of Requester:_________________________________________________
Phone #: _________________________ Fax #:___________________________
Relationship to Case:________________________________________________
9Attorney For:             9Plaintiff         9Defendant
9Party:             9Plaintiff          9Defendant
9Other – Explain____________________________________________________
Purpose of Request:
9To inspect Juror Questionnaires with struck Jury List
9To purchase a copy of Jury Questionnaires with struck Jury List
9To obtain copy of Jury List
  I understand the confidential information contained in these juror questionnaires
  and jury list is to be used solely for the purpose of evaluating potential jurors for
  jury service for this case and is not to be used or disseminated for any other
  purpose. The questionnaires and list will remain in my custody as the ordering
  party. All copies of the questionnaires and jury list, on paper or disk, will be
  destroyed at the conclusion of the case. The questionnaires or jury list will not
  reside on any computer.

             _________________________________________________
                          ________________________________ ______________________
                          Signature of Requester           Date

This request can be approved via facsimile at (803) 765-5283.
Clerk’s Office approval by: ______________________________ ______________
                            Deputy Clerk                      Date
Panel # ______




                                            18
      2:18-cv-01872-RMG          Date Filed 08/14/18       Entry Number 8      Page 24 of 33


                            STANDARD JUROR QUESTIONNAIRE

                         INSTRUCTIONS
                         1. Complete and return within 3 days of receipt to:
                                   Clerk, U.S. District Court
                                   Attn: Jury Administrator
                                   901 Richland Street
                                   Columbia, S.C. 29201
                         2. Use a black pen
                         3. If you want to be excused, please use the form
                         provided or send a separate letter.




     Juror’s Name: (Print)__________________________________
         Address: (Street)______________________________________
         (City, state & zip) _____________________________________
         (County)_____________________________________________

        Email address:

        Telephone Numbers: Cell/Home (____) ______________            Work ( ___ ) ___________

        Do you rent or own (purchasing)? _______         Years at this address?________________

1.      Juror's Age: __________

        How would you describe the condition of your health?            ____________________________

        If you have any physical or medical problems which would make jury duty difficult or which
        require accommodation, please explain them here             ___________________________
                ________________________________________________________________________

        NOTE: If you are requesting to be excused due to a problem listed above, you must submit a
        separate letter or use form provided which can be mailed with this questionnaire.

2.      Juror's Education: (please check most appropriate)

        _____ less than 6th grade              _____   technical, business or two year degree
        _____ more than 6th grade              _____   some college but no degree
               but no high school degree       _____   four year college degree in        _______________
        _____ high school graduate             _____   post graduate work or degree in        ___________

3.      List any special training or skills you have: _____________________________________
                ________________________________________________________________________

4.      What is your current job status? (Please check most appropriate answer)

        _____ working full time _____ unemployed              _____ homemaker
        _____ working part time _____ retired                 _____ full time student
                                                  19
      2:18-cv-01872-RMG         Date Filed 08/14/18     Entry Number 8      Page 25 of 33




5.     Who is your present (or most recent) employer?             _________________________________

6.     What is your present (most recent) job title?         ____________________________________

7.     Describe the duties of your current (or most recent) job: ___________________________
              ________________________________________________________________________
              ________________________________________________________________________
              ________________________________________________________________________

8.     If retired, disabled, or unemployed, indicate the date of your retirement or your latest
       employment:             _____________________________________________________________

9.     Has your occupation changed in the last five years?           ______________________________

       If yes, indicate all occupations held in the last five years: __________________________
                ________________________________________________________________________
                ________________________________________________________________________

10.    List all other types of jobs you have had throughout your life (not listed above):
                ________________________________________________________________________
                ________________________________________________________________________

11.    Have you ever served in the military? __________ If yes, indicate the following:

              branch of service __________________ years of service             ___________________
              rank at discharge __________________ form of discharge             __________________

12.    Juror's Marital Status:
               single, never married                                 _____ widow/widower
       _____ single but previously married for _____ years           _____ other     ______________
       _____ currently married, have been for _____ years                        __________________

13.    If currently married, provide the following information:

       a. Spouse's education:         _____________________________________________________

       b. Spouse's present employment status:           _______________________________________

       c. Spouse's present occupation and employer:            __________________________________

       d. Other types of jobs your spouse has held:           ___________________________________

                  _____________________________________________________________________


                                                20
      2:18-cv-01872-RMG         Date Filed 08/14/18     Entry Number 8     Page 26 of 33



14.    If you have children, please give their ages, gender and occupations:
               ________________________________________________________________________
               ________________________________________________________________________
               ________________________________________________________________________

       Some of the questions below refer to your “family.” This is intended to include your mother,
       father, sisters, brothers, children, and spouse.

15.    Other than the military, have you or any member of your family been employed by the United
       States government or any state or local governm_e_n_t?__ yes _____ no

       If yes, who was so employed, when and where?   _________________________________
               ________________________________________________________________________

16.    Have you or any member of your family ever worked for a law enforcement organization?
       _____ yes _____ no

       If yes, who was so employed, when and where?   _________________________________
               ________________________________________________________________________

17.    What are your hobbies, special interests, recreational pastimes and other spare-time activities,
       including sports?                  __________________________________________________
              ________________________________________________________________________

18.    What is/are your primary source(s) of news?
       _____ TV              _____ Newspaper       _____Radio
       _____ Magazines       _____ Other         ___________________________________________

       What magazines and newspapers do you regularly read? ___________________________
             ________________________________________________________________________

19.    Have you ever been a member of a professional or job-related organization (including labor
       unions)?             _____ yes _____ no

       If yes, identify the organization(s):        ____________________________________________

20.    What social, political, civic, religious, and other organizations do you belong to or are you
       associated with?               _______________________________________________________
              ________________________________________________________________________




                                               21
      2:18-cv-01872-RMG         Date Filed 08/14/18     Entry Number 8     Page 27 of 33



21.    Are you or any member of your family a member of any group which encourages strict
       enforcement of criminal laws or modification of our present laws such as Mothers Against Drunk
       Drivers (MADD), Citizens Against Violence (CAVE)?
       _____ yes _____ no

       If yes, identify the family member (by relationship) and the group to which they belong:
                ________________________________________________________________________
                ________________________________________________________________________

22.    Have you displayed any bumper stickers on your automobile in the last twelve months?
       _____ yes _____ no

       If yes, please list each bumper sticker: _________________________________________
                ________________________________________________________________________

23.    Have you or any member of your family ever suffered long-term or permanent disability?
       _____ yes _____ no

       If yes, please explain:    ______________________________________________________
                ________________________________________________________________________

24.    Have you previously served on a jury?         _____ yes        _____ no

       If so, what type of case was it?              _____ criminal   _____ civil

       Was a verdict reached?                        _____ yes        _____ no

       What was the verdict?                               _____________________________________

       Did anything happen during your previous jury service which might affect your ability to make a
       decision if you are selected as a juror during this term of court?
       _____ yes _____no

       If yes, please explain     ______________________________________________________
                ________________________________________________________________________

25.    Have you ever been a witness in a civil or criminal trial?
       _____ yes _____ no

       If yes, please explain     ______________________________________________________
                ________________________________________________________________________




                                                22
      2:18-cv-01872-RMG         Date Filed 08/14/18     Entry Number 8       Page 28 of 33



26.    Have you or anyone in your family ever been involved in a lawsuit, including a suit involving a
       workers' compensation claim? _____ yes _____ no

       If yes, indicate the following:

       Family member involved: (relationship)           _______________________________________
       Was that person the plaintiff (person who sues) or the defendant?      ___________________
       What type of case was it? (example, auto accident)         _______________________________
       Who was your family member's lawyer?             _______________________________________


27.    Have you or any member of your family ever complained to any seller or manufacturer that a
       product they sold or made was defective or unreasonably dangerous?
       _____ yes _____ no

       If yes, please explain     ______________________________________________________
                ________________________________________________________________________

28.    Have you or a member of your immediate family ever filed a claim with an insurance company
       (other than a health insurance cla_im
                                           __)?__ yes _____ no

       If yes, what was the nature of the claim and when was it filed? _____________________
               ________________________________________________________________________

       Was the claim paid? If not, how was the matter resolved? _________________________
             ________________________________________________________________________

29.    Have you or a member of your immediate family ever filed a complaint against a law
       enforcement officer or agency?  _____ yes _____ no

       If yes, what was the nature of the complaint and when was it made? _________________
               ________________________________________________________________________

30.    Have you, or any close friends or relatives been the victim of a crime?
       _____ yes _____ no

       If yes, please explain who the victim was and the type of crime: ____________________
                ________________________________________________________________________

31.    Have you or any family member ever been arrested or charged with a crime other than a traffic
       offense?             _____ yes _____ no

       If yes, please explain who was charged and with what crime: ______________________
                ________________________________________________________________________



                                               23
      2:18-cv-01872-RMG        Date Filed 08/14/18      Entry Number 8        Page 29 of 33



32.    Have YOU or any family member ever been convicted of a crime other than a traffic offense?
       _____ yes          _____ no

       If yes, please explain who was convicted of what crime ___________________________
                ________________________________________________________________________

       If YOU were convicted of a crime, what was the nature of the crime charged?
             ________________________________________________________________________

          Was the crime punishable by imprisonment for more than one year?
          _____ yes _____ no

          If yes, were your civil rights restored and, if so, in what manner? _______________
                  _____________________________________________________________________

33.    Are any criminal charges now pending against YOU?        _____ yes   _____ no
          If yes, what is the nature of the charge?      _____________________________________
          Is the crime punishable by more than one year?        ______________________________

34.    Have you or anyone in your family ever worked for:

                                    YES    NO    EMPLOYER & FAMILY MEMBER
       A lawyer or law firm        _____   _____      ____________________________________
       An insurance company        _____   _____      ____________________________________
       The court system            _____   _____      ____________________________________
       A large corporation         _____   _____      ____________________________________
       A doctor, hospital, or
        health care organization _____ _____                 ____________________________________

35.    Have you or any member of your family ever had a drug or alcohol abuse problem?
       _____ yes _____ no

       If so, did they receive treatment or participate in a support group (such as Alcoholics
       Anonymous)?
       _____ yes _____ no

       If either answer above is yes, please explain ____________________________________
               ________________________________________________________________________
               ________________________________________________________________________
               ________________________________________________________________________




                                                24
           2:18-cv-01872-RMG        Date Filed 08/14/18       Entry Number 8        Page 30 of 33



The following instructions relate to all of the remaining questions. Please read them carefully.

        It is very important in every trial to select jurors who will listen carefully to all of the evidence
offered by both sides and who will decide the case fairly. Jurors must decide cases without any bias or
preconceived ideas as to how a particular type of case should be decided. Sometimes, however, a juror's
own personal feelings or views are so strong that the juror simply cannot weigh the evidence fairly in a
particular type of case. The following questions are intended to help the court determine if there are any
particular types of cases on which you should not serve. Please answer them carefully.

                                                                                    I can      I cannot
                                                                                    be fair    be fair
     36.     Corporations have the same rights under the law as any
             individual. Do you feel that you can be fair to both sides in a
             lawsuit that involves an individual on one side and a company or
             corporation on the other?
     37.     Foreign nationals are entitled to the same rights to a fair trial as
             any other person. Do you feel that you can be fair to both sides in
             civil or criminal cases involving a foreign national?
     38.     Do you feel that you can fairly decide a case involving the U.S.
             government on one side and an individual accused of violating
             the law on the other?
     39.     Do you have such strong feelings about firearms that you could
             not be fair and impartial in a case involving the alleged use or
             illegal possession of a firearm?
     40.     Do you have such strong feelings regarding the use or sale of
             illegal drugs that you could not be fair and impartial in a case
             involving the alleged use or sale of illegal drugs?
     41.     Do you have such strong feelings about alcohol or drug abuse
             that you could not fairly weigh the evidence in a case involving
             the alleged use or abuse of alcohol or drugs (legal or illegal)?
     42.     Do you have such strong feelings for or against law enforcement
             officers that you would be unable to give both sides a fair trial in
             a criminal case (or in a civil case involving a law enforcement
             officer)?
     43.     Would any personal experiences prevent you from being fair to
             both sides in a case involving a person with a personal injury or
             disability?




                                                      25
      2:18-cv-01872-RMG           Date Filed 08/14/18     Entry Number 8       Page 31 of 33



44.     Jurors are often required to decide which witnesses to believe and which not to believe.
        In deciding believability, jurors may consider how the witnesses presented themselves,
        certain factors in the witnesses background, and many other factors. However, you may
        not judge believability of a witness simply based on that person's occupation or position
        in life.

        Understanding these rules, would you be able to judge the believability of law
        enforcement officers and other government witnesses by the same standard as any other
        witness?

               _____ yes, I can                       _____ no, I cannot

45.     Regardless of any opinion you may have concerning a particular law, would you be able
        to set aside your feelings and follow the law as stated by the judge?

        _____ yes _____ no

46.     If you desire to do so, you may explain any of your answers here: ___________________
        ________________________________________________________________________
        ________________________________________________________________________
        ________________________________________________________________________

47.     Is there any additional information about you that the court should know?
        ________________________________________________________________________
        ________________________________________________________________________
        ________________________________________________________________________

Thank you again for your cooperation. Please read the following and sign below.

The answers provided above are truthful and complete to the best of my ability. I understand that
knowingly giving a false answer may subject me to the penalties for perjury.

      ***Please make sure you have answered questions 31-33/45 and sign below. ***


                         SIGN HERE º _____________________________________
                                     JUROR'S SIGNATURE

COMPLETE AND RETURN WITH IN 3 DAYS OF RECEIPT.

*** PLEASE INCLUDE LETTER OR FORM PROVIDED IF ASKING FOR EXCUSE. ***

The purpose of this questionnaire is to assist the court in selecting juries. The questionnaire is
being sent to you in advance of jury selection to save time during the jury selection process. It will
only be used for jury selection and may not be made available to the public.



                                                 26
         2:18-cv-01872-RMG         Date Filed 08/14/18      Entry Number 8       Page 32 of 33
                                    MAIL OR FAX # 803-765-5283
            Jury postponement/excuse request form
Name__________________________ Participant No._____________________ Juror No.________

Address _______________________________ City/State ___________________ Zip Code ________

Telephone numbers: Home                             Work                         Cell
3 I wish to have my jury service postponed because:
     I have prepaid travel plans, and my money cannot be refunded. Provide dates and reason for travel
    below.
     I have a medical appointment and/or condition that will prevent me from serving. Provide date(s)
    and medical condition(s) and when you may be able to serve below.
     I am a full-time college student and classes are in session. Provide name of college, university, or
    technical school and anticipated graduation date below.
     I have a request or excuse not listed . Please explain below.

Postponements are usually granted when there is an extended or temporary hardship. Unavailable dates do
not automatically postpone your service. You must verify your reporting status through our website at
www.scd.uscourts.gov click on ‘Jurors’ then ‘Jury Reporting Instructions’ or the automated phone system
at 1-866-865-8152. You will not receive any written notification.

REMARKS:



                                                                    Remarks continued on the back '

3 I wish to be excused from service because:
     I have active care and custody of children under ten years of age whose health and/or safety would
    be jeopardized due to jury service. List your children’s age(s) below.
     I am over 70 years of age. Provide your date of birth below.
     I am caring for an aged or infirm person, not residing in care facility. Explain below.
     I have a physical or mental condition that would prevent me from serving as a juror. Explain fully
    below.
     I serve without pay as a volunteer firefighter, member of a rescue squad or ambulance crew for a
    government agency. Provide name of agency below.
     I am a self employed sole proprietor and my business will close or cease to function in my absence.
  Explain below.
     I have a request or excuse not listed . Please explain below.

Requests are not automatically granted. You must verify your reporting status through our website at
www.scd.uscourts.gov click on ‘Jurors’ then ‘Jury Reporting Instructions’ or the automated phone
system at 1-866-865-8152. You will not receive any written notification.

REMARKS:



                                                                       Remarks continued on the back '

                                                    27
    2:18-cv-01872-RMG         Date Filed 08/14/18    Entry Number 8      Page 33 of 33
               MEDIATION OF CASES PENDING BEFORE JUDGE GERGEL
Instructions: Complete this form and file it with the joint Rule 26(f) Report.
Case Name:____________________________________________________
C/A No.:_______________________________________________________
   1. Would early mediation be useful in this case? If the answer is in the affirmative, when
      would you propose to conduct mediation in this matter?

   2.   If early mediation is not thought to be useful, when is the earliest stage in which you
        believe it might be useful?

   3. Please provide the court with any additional information that would assist in setting a
      timeline for required mediation.




Signatures                                        Party Represented

_____________________                             ___________________________

_____________________                             ___________________________

_____________________                             ___________________________

_____________________                             ___________________________




                                             28
